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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

ESTATE OF ASHLI BABBITT and
AARON BABBITT, individually and on
behalf of the ESTATE OF ASHLI
BABBITT,

                              Plaintiffs,              Case No. 1:24-cv-01701-ACR
       v.

UNITED STATES OF AMERICA,

                              Defendant.
                                                 /

                                     [PROPOSED] ORDER

       The Court has reviewed and considered Plaintiffs’ Motion to Retransfer Venue to the

Southern District of California. For the reasons stated therein, and for good cause, it is hereby

ORDERED as follows:

1.     The motion is GRANTED.

2.     The Clerk of this Court shall transfer this matter to the United States District Court for

the Southern District of California forthwith.

       SO ORDERED this _____ day of __________, 2024.



                                                 ________________________________
                                                 HONORABLE ANA C. REYES
                                                 UNITED STATES DISTRICT JUDGE
